            Case 4:15-cv-06314-YGR Document 115-1 Filed 04/12/17 Page 1 of 4




     Chiharu Sekino, SBN #306589
 1
     Email: csekino@sfmslaw.com
 2   SHEPHERD, FINKELMAN, MILLER & SHAH, LLP
     44 Montgomery Street, Suite 650
 3   San Francisco, CA 94104
     Telephone: (415) 429-5272
 4   Facsimile: (866) 300-7367
 5
     Beth E. Terrell, SBN #178181
 6   Email: bterrell@terrellmarshall.com
     Jennifer Rust Murray, Admitted Pro Hac Vice
 7   Email: jmurray@terrellmarshall.com
     TERRELL MARSHALL LAW GROUP PLLC
 8   936 N. 34th Street, Suite 300
     Seattle, Washington 98103
 9
     Telephone: (206) 816-6603
10   Facsimile: (206) 319-5450

11   [Additional Counsel Appear on Signature Page]
12   Attorneys for Plaintiffs and the Proposed Classes
13
                               UNITED STATES DISTRICT COURT
14                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
15
     ABANTE ROOTER AND PLUMBING,
16   INC., GEORGE ROSS MANESIOTIS,                       NO. 4:15-cv-06314-YGR
17   MARK HANKINS, and PHILIP J.
     CHARVAT, individually and on behalf of all          DECLARATION OF BETH E.
18   others similarly situated,                          TERRELL IN SUPPORT OF
                                                         PLAINTIFFS’ ADMINISTRATIVE
19                         Plaintiffs,                   MOTION TO FILE UNDER SEAL
20          v.
                                                         JURY TRIAL DEMAND
21   ALARM.COM INCORPORATED, and
22   ALARM.COM HOLDINGS, INC.,                           Complaint Filed: December 30, 2015

23                         Defendants.                   Honorable Yvonne Gonzalez Rogers
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     DECLARATION OF BETH E. TERRELL IN SUPPORT OF PLAINTIFFS’
     ADMINISTRATIVE MOTION TO FILE UNDER SEAL - 1
     CASE NO. 4:15-CV-06314-YGR
             Case 4:15-cv-06314-YGR Document 115-1 Filed 04/12/17 Page 2 of 4




 1          I, Beth E. Terrell, declare as follows:
 2          1.      I am a member of the law firm of Terrell Marshall Law Group PLLC, co-counsel
 3   in this matter. I am a member in good standing of the bars of the states of California and
 4   Washington. I respectfully submit this declaration in support of Plaintiffs’ Administrative
 5   Motion to File Under Seal, pursuant to Local Rules 79-5 and 7-11. Except as otherwise noted, I
 6   have personal knowledge of the facts set forth in this declaration, and could testify competently
 7   to them if called upon to do so.
 8          2.      Plaintiffs’ Reply in Support of Motion for Class Certification discusses a
 9   document that Defendants have designated as confidential. Plaintiffs are therefore filing the
10   relevant portion of this document under seal in compliance with the stipulated protection order in
11   this case (Dkt. No. 55). Submitted herewith is the unredacted versions of the below listed
12   document for filing under seal.
13
                        Document                                Portion Designated Confidential
14
      Plaintiffs’ Reply in Support of Motion for          Page 5 lines 21-26
15    Class Certification
16
            I declare under penalty of perjury under the laws of the United States of America that the
17
     foregoing is true and correct.
18
            EXECUTED at Seattle, Washington, this 12th day of April, 2017.
19

20                                                     /s/ Beth E. Terrell, SBN #178181
                                                      Beth E. Terrell, SBN #178181
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     DECLARATION OF BETH E. TERRELL IN SUPPORT OF PLAINTIFFS’
     ADMINISTRATIVE MOTION TO FILE UNDER SEAL - 2
     CASE NO. 4:15-CV-06314-YGR
             Case 4:15-cv-06314-YGR Document 115-1 Filed 04/12/17 Page 3 of 4




                                       CERTIFICATE OF SERVICE
 1

 2          I, Beth E. Terrell, hereby certify that on April 12, 2017, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 4   such filing to the following:
 5
                    Stephen E. Taylor, SBN #058452
 6                  Email: staylor@taylorpatchen.com
                    Jonathan A. Patchen, SBN #237346
 7                  Email: jpatchen@taylorpatchen.com
                    Cheryl A. Cauley, SBN #252262
 8
                    Email: ccauley@taylorpatchen.com
 9                  TAYLOR & PATCHEN, LLP
                    One Ferry Building, Suite 355
10                  San Francisco, California 94111
                    Telephone: (415) 788-8200
11                  Facsimile: (415) 788-8208
12
                    Martin W. Jaszczuk, Admitted Pro Hac Vice
13                  Email: mjaszczuk@jaszczuk.com
                    Margaret M. Schuchardt, Admitted Pro Hac Vice
14                  Email: mschuchardt@jaszczuk.com
                    Keith L. Gibson, Admitted Pro Hac Vice
15                  Email: kgibson@jaszczuk.com
16                  JASZCZUK P.C.
                    311 South Wacker Drive, Suite 1775
17                  Chicago, Illinois 60606
                    Telephone: (312) 442-0311
18
                    Ross A. Buntrock, Admitted Pro Hac Vice
19                  Email: ross@olspllc.com
20                  OBSIDIAN LEGAL PLLC
                    1821 Vernon Street NW
21                  Washington, DC 20009
                    Telephone: (202) 643-9055
22
                    Attorneys for Defendants Alarm.com Incorporated and Alarm.com Holdings, Inc.
23

24

25

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     DECLARATION OF BETH E. TERRELL IN SUPPORT OF PLAINTIFFS’
     ADMINISTRATIVE MOTION TO FILE UNDER SEAL - 3
     CASE NO. 4:15-CV-06314-YGR
          Case 4:15-cv-06314-YGR Document 115-1 Filed 04/12/17 Page 4 of 4




          DATED this 12th day of April, 2017.
 1

 2                                        TERRELL MARSHALL LAW GROUP PLLC

 3                                        By: /s/ Beth E. Terrell, SBN #178181
                                              Beth E. Terrell, SBN #178181
 4                                            Email: bterrell@terrellmarshall.com
                                              936 North 34th Street, Suite 300
 5
                                              Seattle, Washington 98103-8869
 6                                            Telephone: (206) 816-6603
                                              Facsimile: (206) 350-3528
 7
                                          Attorneys for Plaintiffs
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     DECLARATION OF BETH E. TERRELL IN SUPPORT OF PLAINTIFFS’
     ADMINISTRATIVE MOTION TO FILE UNDER SEAL - 4
     CASE NO. 4:15-CV-06314-YGR
